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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                   CASE NO. 1:09 cr 37 SPM/GRJ

SAMIM ANGHAIE
and
SOUSAN ANGHAIE
___________________________________/


               GOVERNMENT’S OBJECTION TO CONTINUANCE

        THE UNITED STATES, through the undersigned Assistant United States

Attorney, files this objection to the motion of the defendants to continue the sentencing in

this matter. Each party was advised by the Court of the sentencing date at the time the

Pre-Sentence Report was ordered. The defendants have had ample time to prepare for a

sentencing hearing without the need for further delay.

        The “complexity” of the indictment is overstated. The indictment presented a

chronological set of facts that can be followed without difficulty. Additionally the issues

within the indictment have been subject to previous motions for judgment of acquittal,

motions for new trial, motions for acquittal notwithstanding the verdicts, and forfeiture

hearings. There is no objective reason for a continuation on the grounds raised by the

defendants.
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        WHEREFORE the United States files this objection to the motion of the

defendants and requests the Court reject the defendants motion and proceed to sentencing

as scheduled.

                                                     Respectfully Submitted,

                                                     PAMELA C. MARSH
                                                     United States Attorney


                                                      s/ GREGORY P. McMAHON
                                                     GREGORY P. McMAHON
                                                     Assistant United States Attorney
                                                     300 E. University Avenue, Ste. 310
                                                     Gainesville, Florida 32601
                                                     (352) 378-0996
                                                     Florida Bar Number 178110




                             CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been provided to: Lloyd L.

Vipperman, Esq., Counsel for defendant Samim Anghaie, and Stephen N. Bernstein,

Esq., Counsel for defendant Sousan Anghaie, by electronic filing this 10th day of June

2011.



                                                     s/ GREGORY P. McMAHON
                                                     GREGORY P. McMAHON
                                                     Assistant United States Attorney




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